C18-0298                         EAB/cmw                     February 27, 2018

                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION – CLEVELAND

                                      )
IN RE:                                )    CASE NO. 17-17251
                                      )
Edward A Davis                        )    CHAPTER 13
Christine M Davis                     )
                                      )    JUDGE Jessica Price Smith
     Debtors                          )
                                      )    OBJECTION TO CONFIRMATION
                                      )    OF THE CHAPTER 13 PLAN
                                      )


     Now comes Wells Fargo Bank N.A. dba Wells Fargo Dealer

Services,      a    creditor      herein      holding   a   secured   claim   in   the

within    proceedings,          by   and   through      counsel,   pursuant   to    11

U.S.C, Section 1324 and objects to the confirmation of the plan,

based upon the proposed valuation of the collateral for the

following reasons:

     1.     The within case was filed on December 11, 2017 and is

governed by BAPCPA of 2005.

     2.     Creditor has a security interest in a 2013 Cadillac

ATS VIN# 1G6AA5RA0D0139046.

     3.     On October 29, 2016, the Debtors listed above (the

“Debtor”) obtained a loan from Creditor for the purchase of said

2013 Cadillac ATS.

     4.     The monthly payment amount is $428.38 and Creditor is

owed $18,778.33.




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      5.     The   debt   was    incurred     within     the   910-day   period

preceding the filing of the case; therefore, pursuant to 11

U.S.C. § 1325(a) Creditor should be provided for in Section 3.3

of the Plan to be paid in full in the amount of $18,778.33.

      6.     Debtor shall provide Creditor with proof of insurance

for   the   2013   Cadillac     ATS   prior   to   the   confirmation    of   the

Chapter 13 Plan.

      7.     The objection that is raised herewith is a standing

objection and shall continue with reference to the currently

proposed plan and any subsequently modified plan or plans.

      WHEREFORE, Creditor prays that this Court deny confirmation

of the Debtor(s) proposed Chapter 13 Plan.




            /s/ Edward A. Bailey
            Reimer Law Co.
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            BY: Richard J. LaCivita #0072368
            BY: Cynthia A. Jeffrey #0062718
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                                   Notice of Hearing

     Parties        in    interest     shall    take   notice    that      the   within

Objection      of   Wells     Fargo     Bank    N.A.   dba    Wells   Fargo      Dealer

Services to Confirmation of Chapter 13 Plan shall come on for

hearing on March 8, 2018 at 9:30 a.m., in conjunction with the

confirmation        hearing       in   the   within    matter   in    the    Clerk   of

Courts,   United         States    Bankruptcy    Court,      Howard   M.    Metzenbaum

Court House 201 Superior Avenue, Cleveland, OH 44114.



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                           CERTIFICATE OF SERVICE

I certify that on February 27, 2018, a true and correct copy of
the Objection was served:

Via the Court’s Electronic Case Filing System on these entities
and individuals who are listed on the court’s Electronic Mail
Notice List:

1.   Office of the U.S. Trustee at (registered
     address)@usdoj.gov

2.   Lauren A. Helbling on behalf of the Chapter 13 Trustee's
     office at ch13trustee@ch13cleve.com

3.   William Balena, Esq. on behalf of Edward A Davis, Debtor,
     at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, to:

1.   Edward A Davis
     Christine M Davis, Debtor
     895 Jamestown Ave
     Elyria, OH 44035



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